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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN
____________________________________________________________________________________

UNITED STATES OF AMERICA,

                                    Plaintiff,                           ORDER
       v.
                                                                    08-CR-105-bbc-02
GERARDO PINEDA SORIA,

                                Defendant.
____________________________________________________________________________________


       The Report and Recommendation entered on February 11, 2009 is hereby

AMENDED to reflect the following correction to the first two sentences in the first

paragraph of the Facts section:
              On Wednesday, June 18, 2008, DCI Special Agent Jim Engels sought and
       obtained from this court a search warrant for 253 South High Street, Apt. A,
       in Janesville, Wisconsin. In his supporting affidavit, Agent Engels reported that

       the building housing this apartment was a Victorian home subdivided into
       apartments, two at the 253 South High Street address, and two more with an
       address of 321 West Holmes Street.

This correction is not material to the analysis or the conclusions reached.


       Entered this 12th day of February, 2009.

                                           BY THE COURT:

                                           /s/

                                           STEPHEN L. CROCKER
                                           Magistrate Judge
